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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: PHILIPS RECALLED CPAP,                  )
BI-LEVEL PAP, AND MECHANICAL                   )        Master Docket: Misc. No. 21-1230
VENTILATOR PRODUCTS                            )
LITIGATION,                                    )        MDL No. 3014
                                               )
This Document Relates to: All Actions          )

            Joint Proposed Agenda for May 6, 2025 Status Conference: Philips MDL 3014

  1.   Update on the Personal Injury Settlement Progress and Presentation from Matt Garretson;
  2.   Remaining Personal Injury Cases;
  3.   Preservation Registry and Orders;
  4.   Plaintiffs’ Counsel Quarterly Time and Expense Submissions;
  5.   LDC update; and
  6.   Motions to Remand.

Dated: May 2, 2025                                 Respectfully submitted,

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